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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
V. Case No. 24-CR-045-GKF-06

KALOB NATHANIEL BURTON,

Defendant.

Plea Agreement
The United States of America, by and through Clinton J. Johnson, United States
Attorney for the Northern District of Oklahoma, and John E. Brasher, Assistant
United States Attorney, and the defendant, KALOB NATHANIEL BURTON, in
person and through counsel, Robert D. Gifford, respectfully inform the Court that
they have reached the following plea agreement.

iL Plea

The defendant agrees to enter voluntary pleas of guilty to the following:

COUNT TEN: 18 U.S.C. §§ 922(g)(1) and 924(a)(8) — Felon in Possession of a
Firearm and Ammunition

COUNT ELEVEN: 18 U.S.C. § 1952(a)(2) — Interstate Travel to Aid
Racketeering
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as set forth in the Second Superseding Indictment in the instant case, Northern
District of Oklahoma, and admits to being in fact guilty as charged in the counts to
which the defendant is pleading guilty.

2 Waiver of Constitutional Rights

The defendant understands that, by pleading guilty, the following constitutional
rights will be relinquished:
a. the right to be indicted if proceeding by Information;
b. the right to plead not guilty;

c. the right to be tried by a jury, or, with the consent of the government, to be
tried by a judge;

d. the right to an attorney at trial, including a court-appointed attorney if the
defendant could not afford an attorney;

e. the right to assist in the selection of the jury;

f. the right to be presumed innocent, and to have the jury instructed that the
government bears the burden to prove the defendant guilty beyond a reasonable
doubt and by a unanimous verdict;

g. the right to confront and cross-examine witnesses against the defendant;

h. the right to testify on their own behalf and present witnesses in their
defense;

i. the right not to testify, and to have the jury instructed that the decision not
to testify could not be used against the defendant;

j. the right to appeal a guilty verdict to determine if any errors had been

committed during trial that would require either a new trial or a dismissal of the
charges;

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k. the right to have a jury determine beyond a reasonable doubt any facts that
could increase any mandatory minimum or maximum sentence; and

l. any rights and defenses under the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution to the forfeiture of property in this
proceeding or any related civil proceeding, special or other assessment, and any
order of restitution.

By pleading guilty, the defendant will be giving up all of these rights. By pleading
guilty, the defendant understands that they may have to answer questions posed by
the Court, both about the rights that the defendant will be giving up and the factual

basis for the defendant’s plea.

> Appellate and Post-Conviction Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees to the following
terms:

a. The defendant waives rights under 28 U.S.C. § 1291 and/or 18 U.S.C. §
3742(a) to directly appeal the conviction and sentence, including any fine,
assessment, forfeiture, restitution order, term or condition of supervised release,
or sentence imposed upon a revocation of supervised release; except that the
defendant reserves the right to appeal from a sentence that exceeds the statutory
maximum;

b. The defendant expressly acknowledges and agrees that the government
reserves all rights to appeal the sentence;

c. The defendant waives the right to appeal from the district court’s denial of

any post-conviction motion to reduce the term of supervised release or probation
under 18 U.S.C. §§ 3583(e)(1) or 3564(c); and

d. The defendant waives the right to collaterally attack the conviction and
sentence under 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except
for claims of ineffective assistance of counsel.

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The defendant expressly acknowledges that counsel has explained his appellate

and post-conviction rights; that the defendant understands his rights; and that the

defendant knowingly and voluntarily waives at rights,as set forth above.
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KALOB NATHANIEL BURTON

4, Departure and Variance Waiver

In consideration of the promises and concessions made by the government in this
plea agreement, the defendant knowingly and voluntarily agrees not to request,
recommend, or file a sentencing memorandum or a variance or departure motion
seeking a sentence below the applicable Guidelines range.

5. Freedom of Information Act Waiver

The defendant waives all rights, whether asserted directly or by a representative,
to request or to receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5
U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

6. Rule 11 Rights Waiver

The defendant knowingly and expressly waives all the rights afforded under Rule
11(f) of the Federal Rules of Criminal Procedure. Therefore, in any subsequent
proceeding, including a criminal trial, the following shall be admissible against the

defendant under Rule 801(d)(2)(A) of the Federal Rules of Evidence:

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a. A guilty plea which is later withdrawn or that the defendant seeks to

withdraw;

b. The facts that the defendant has admitted under this plea agreement, as

well as any facts to which the defendant admits in open court at the plea hearing,
and any statement made in any proceeding under Rule 11 regarding this plea
agreement; and

c. Any statement made during plea discussions with an attorney or agent for

the government, or that were made pursuant to a proffer letter agreement, that
resulted in a plea of guilty that is later withdrawn.

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Payment of Monetary Penalties

a. Enforcement

1) The defendant waives any defense or objection to any action to enforce
the collection of financial obligations to be imposed in connection with this
prosecution, including, but not limited to, collection procedures authorized by
the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001, et seq., 18
U.S.C. § 3664, or 18 U.S.C. § 3613.

2) The defendant understands and agrees that under 18 U.S.C. § 3613 any
monetary penalties or restitution imposed by the Court will be due and
payable immediately and subject to immediate enforcement by the United
States. If the Court imposes a schedule of payments, the defendant agrees that
the schedule is a minimum schedule of payments and not the only method,
nor a limitation on the methods, available to the United States to enforce the
judgment.

3) The defendant waives any requirement for demand of payment on any
fine, restitution, or assessment imposed by the Court.

4) The defendant agrees that any unpaid obligations will be submitted to
the United States Treasury for offset, so that any federal payment or transfer of
returned property the defendant receives may be applied to federal debts and
will not be limited by a payment schedule.

5) The defendant agrees that any restitution debt may not be discharged in
any bankruptcy proceeding.

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b. Disclosure of Financial Information

1) The defendant agrees to provide complete information regarding all
victims potentially entitled to restitution.

2) The defendant agrees to provide truthful and complete financial
information, as requested by the United States Probation Office for the
preparation of the presentence report.

3) The defendant agrees to complete, under penalty of perjury, the
required financial statement form not later than two weeks after the defendant
enters a guilty plea. The defendant agrees to update any material changes in
circumstances, as described in 18 U.S.C. § 3664(k), within seven days of the
event giving rise to the changed circumstances.

4) The defendant agrees to submit, before and after sentencing, to
depositions and interviews regarding the defendant’s financial status, as
deemed necessary by the United States Attorney’s Office.

5) The defendant authorizes the United States Attorney’s Office to obtain
the defendant’s credit report. The defendant also agrees to provide waivers,
consents, or releases, valid for 120 days after sentencing, to allow the U.S.
Attorney’s Office to access records to verify financial information.

6) The defendant authorizes the United States Attorney’s Office to inspect
and copy all financial documents and information held by the U.S. Probation
Office.

7) The defendant’s failure to timely and accurately complete and sign the
financial statement, and any necessary updates, may, in addition to any other
penalty or remedy, constitute a failure to accept responsibility under U.S.S.G
§ 3E1.1.

Abandonment Agreement

Defendant agrees to abandon all interest in and rights or claims, to, if any, the

property described below in order that final disposition may be made by the

appropriate federal, state or local law enforcement agency, and agrees not to oppose

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any civil, administrative, or judicial forfeiture of the property. The property to be
abandoned includes but is not limited to:
FIREARMS AND AMMUNITION

1. A Palmetto State Armory, Model PA-15, multi caliber pistol, serial number
SCD443583;

2. An Anderson Manufacturing, Model AM-15, Multi caliber pistol, serial number
22021725;

3. A Century Arms International, Model VSKA, 7.62 x 39mm pistol, serial
number SV7P011101;

4. A Zastava, Model PAP M85 PV, 5.56 caliber pistol, serial number
M85PV001787; and

5. A Romarm/Cugir, Micro Draco, 7.62 x 39mm pistol, serial number 22PMD-
28632.

Defendant specifically waives any right to personal notice of intention to abandon
the property and any right to challenge the disposition of the property under Federal
law.

Defendant further waives all constitutional and statutory challenges in any
manner (including direct appeal, habeas corpus, or any other means) to any judicial
or administrative forfeiture or abandonment carried out in accordance with this plea
agreement on any grounds, including that the forfeiture constitutes an excessive fine
or punishment.

Defendant agrees that in the event this plea agreement is voided for any reason,
the agreement for abandonment and disposition of the property listed above shall

survive and shall be given full force and effect.
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9, Special Assessment

a. The defendant hereby agrees to pay the total Special Monetary Assessment
($100 per felony count) to the United States District Court Clerk at or before
sentencing or as otherwise directed by the District Court.

10. Factual Basis and Elements

To convict defendant under 18 U.S.C. §§ 922(g)(1) and 924(a)(8), the
government must prove the following elements beyond a reasonable doubt:
a. The defendant knowingly possessed a firearm or ammunition;
b. The defendant was convicted of a felony, that is, a crime punishable by
imprisonment for a term exceeding one year, before he possessed the

firearm and ammunition;

c. The defendant knew he had been convicted of a felony at the time he
possessed the firearm and ammunition; and

d. Before the defendant possessed the firearm and ammunition, the firearm
and ammunition had moved at some time from one state to another or
from a foreign country to the United States.

With regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea
of guilty and relieves the United States of any further obligation to adduce such
evidence.

To convict defendant under 18 U.S.C. § 1952(a)(2), the government must prove

the following elements beyond a reasonable doubt:

a. The defendant traveled in interstate or foreign commerce,

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b. The defendant did so with the intent to commit a crime of violence to
further unlawful activity, namely Robbery with a Dangerous
Weapon, the elements of which are

(1) wrongful;

(2) taking;

(3) carrying away;

(4) personal property;

(5) of another;

(6) from the person of another;

(7) by force/fear;

(8) through use of a loaded firearm
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c. Thereafter the defendant did attempt to commit a crime of violence, a
robbery, to further unlawful activity.

With regard to the factual basis required by Federal Rule of Criminal Procedure
11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea
of guilty and relieves the United States of any further obligation to adduce such
evidence.

The defendant, KALOB NATHANIEL BURTON, admits to knowingly,
willfully and intentionally committing or causing to be committed the acts
constituting the crimes alleged in Counts Ten and Eleven in the instant case, and
confesses to the Court that the defendant is, in fact, guilty of such crimes.

I, KALOB NATHANIEL BURTON, admit that I committed the
crimes of Felon in Possession of a Firearm and Ammunition and

Interstate Travel in Aid of Racketeering Enterprises, from on or about
September 15, 2023, through on or about September 16, 2023.

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Specifically, on or about September 15, 2023, I was a member of a
group of individuals whose purpose was to commit unlawful activity
that included distribution of narcotics and controlled substances and
commit acts of violence. On September 15, 2023, I met with other
members of this group and traveled from Arkansas to Tulsa, Oklahoma
with the intent to commit crimes of violence, namely Robbery with a
Dangerous Weapon, against members of a rival group who had
previously robbed members of our group. Firearms, body armor, and
masks were distributed amongst the group before leaving for Tulsa. I
was in possession one of the firearms, a Century Arms VSKA Draco,
which was loaded and, in a vehicle, where multiple firearms were
within easy reach of everyone in the car.

The group traveled in two separate cars with firearms to various houses
in Tulsa, Oklahoma, looking for the homes of the rival group to rob or
harm them. Multiple firearms were within easy reach of everyone in the
Dodge Charger I was traveling in. The group drove with the firearms to
321 E. Reconciliation Way, Tulsa, Oklahoma, which is across from a
nightclub we knew members of the rival group frequented. We intended
to rob the rival group in furtherance of our group’s unlawful activities,
specifically, the distribution of narcotics and controlled substances. The
houses and nightclub we traveled to are within the Northern District of
Oklahoma.

Prior to September 15, 2023, I knew I was convicted of a felony offense
and prohibited from possessing a firearm or ammunition. Further, all of
the firearms, to include the VSKA Draco, and ammunition, were
manufactured outside of the State of Oklahoma and traveled in or other

affected anterstate commerce. Z
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KALOB NATHANIEL BURTON Date
Defendant

11. Further Prosecution

The United States shall not initiate additional criminal charges against the

defendant in the Northern District of Oklahoma that, as of the date of the

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defendant’s acceptance of this agreement, arise from its investigation of the
defendant’s actions and conduct giving rise to the instant Second Superseding
Indictment. The defendant understands, however, that this obligation is subject to all
“Limitations” set forth below, and that the United States Attorney’s Office for the
Northern District of Oklahoma is free to prosecute the defendant for any illegal
conduct (i.e., violation of federal criminal laws) not discovered by or revealed to the
government before the date of this agreement or occurring after the date of this
agreement.

12. Dismissal of Remaining Counts

If the Court finds the defendant’s pleas of guilty to be freely and voluntarily made
and accepts the pleas, then the United States will move, at the appropriate time, to
dismiss the remaining counts in the instant case, if any, as to this defendant.

If the defendant’s guilty pleas are rejected, withdrawn, vacated, or reversed at any
time, any charges that have been dismissed may be reinstated or re-presented to a
grand jury, and the government will be free to prosecute the defendant for all
charges. Under these circumstances, the defendant waives any right to argue that the
Double Jeopardy clause bars the defendant’s federal prosecution, as well as any
objections, motions, or defenses based upon the applicable statute of limitations, the
Speedy Trial Act, or constitutional restrictions as to the timeliness of any renewed
charges.

13. Acceptance of Responsibility

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Provided the defendant clearly demonstrates acceptance of responsibility, the
government agrees to recommend a two-level reduction in offense level pursuant to
U.S.S.G. § 3E1.1. The government agrees to file a motion recommending that the
Court grant an additional one-level reduction under U.S.S.G. § 3E1.1(b), if the
defendant’s Guidelines offense level qualifies him for such a reduction. The
sentencing judge is in a unique position to evaluate the acceptance of responsibility,
and the Court will ultimately decide whether to apply any § 3E1.1 reduction for
timely acceptance of responsibility.

Any agreement to recommend an acceptance-of-responsibility reduction is
contingent upon the defendant's continuing manifestation of acceptance of
responsibility as determined by the government. If the defendant (1) falsely denies, or
makes conflicting statements as to, his involvement in the crimes to which he is
pleading, (2) falsely denies or frivolously contests conduct that the Court determines
to be relevant conduct as defined in USSG § 1B1.3, (3) willfully obstructs or attempts
to obstruct or impede the administration of justice as defined in USSG § 3C1.1, (4)
perpetrates or attempts to perpetrate crimes while awaiting sentencing, or (5)
advances false or frivolous issues in mitigation, the government expressly reserves
the right to withdraw any recommendation regarding acceptance of responsibility

without breaching the agreement.

14. Sentence

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a. Imprisonment
The defendant acknowledges that under 18 U.S.C. §§ 922(g)(1) and
924(a)(8) the maximum statutory sentence is 15 years of imprisonment and a fine of
not more than $250,000.
The defendant acknowledges that under 18 U.S.C. § 1952(a)(2) the maximum
statutory sentence is 20 years of imprisonment and a fine of not more than $250,000.
b. Supervised Release
Additionally, the defendant is aware, if imprisonment is imposed, that the Court
may include as part of the sentence a requirement that after imprisonment the
defendant be placed on a term of supervised release of no more than 3 years per
Count. Violation of any condition of supervised release may result in revocation, or
modification of the conditions, of supervised release, which may in turn result in
additional incarceration consistent with 18 U.S.C. § 3583(e).
c. Guidelines
The defendant is aware that the Sentencing Guidelines are advisory. The Court,
while not bound to apply the Sentencing Guidelines, must consult those Guidelines
and take them into account when sentencing.
The defendant is further aware that the Court determines the sentence, that the
Court has not yet done so, and that any estimate of the sentence — received from any

source — is a prediction, not a promise. Regardless of any estimate the defendant has

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received, the Court has discretion to impose any sentence up to and including the
statutory maximum.

15. Stipulations

The defendant and the United States agree and stipulate to the following facts:

The defendant understands that neither the Court nor the United States Probation
Office is bound by the foregoing stipulations, either as to questions of fact or as to
determination of the correct advisory sentencing guideline calculation.

Having been fully apprised by defense counsel of the right to seek compensation
pursuant to Public Law 105-119, the defendant WAIVES any and all such right, and
stipulates that defendant is not a “prevailing party” in connection with this case.

16. Limitations

This plea agreement shall be binding and enforceable upon the Office of the
United States Attorney for the Northern District of Oklahoma, but in no way limits,
binds or otherwise affects the rights, powers, duties or obligations of any state or
local law enforcement agency, administrative or regulatory authorities, civil or
administrative enforcement, collection, bankruptcy, adversary proceedings or suits
which have been or may be filed by any governmental entity, including without
limitation, the Internal Revenue Service, the Tax Division of the Department of
Justice and the trustee in bankruptcy.

17. Breach of Agreement

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In the event either party believes the other has failed to fulfill any obligations
under this agreement, then the complaining party shall, in its discretion, have the
option of petitioning the Court to be relieved of its obligations herein. The Court
shall determine whether a party has completely fulfilled all its obligations under this
agreement in an appropriate proceeding at which any disclosures and documents
provided by either party shall be admissible and at which the complaining party shall
be required to establish any breach by a preponderance of the evidence. If the Court
determines that the defendant has breached the plea agreement, the government may
declare this agreement null and void, and the defendant will be subject to prosecution
for any criminal violation, including but not limited to any crimes or offenses
contained in or relating to the charges in this case, as well as false statement,
obstruction of justice, or any other crime committed by the defendant during this
prosecution.

The defendant hereby WAIVES any right under Rule 11(d) and (e) of the Federal
Rules of Criminal Procedure to withdraw from the guilty plea or this agreement, save
and except if the Court determines that the government has breached the plea
agreement as set forth above. If KALOB NATHANIEL BURTON, after entry of a
plea of guilty, unsuccessfully attempts to withdraw that guilty plea, the government
may continue to enforce the agreement but will no longer be bound by any particular
provision in this agreement, unless the Court determines that the government acted

in bad faith to bring about the attempted plea withdrawal.

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18. Conclusion

No agreements, representations or understandings have been made between the
parties in this case, other than those which are explicitly set forth in this plea
agreement and the Plea Agreement Supplement that the United States will file in this
case (as it does in every case, even if there are no additional terms) and none will be

entered into unless executed in writing and signed by all of the parties.

SO AGREED:

CLINTON J. JOHNSON
ED STATES ATTORNEY

JOHIN E. BRASHER Dated
Aspistant United States Attorney

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KALOB NATHANIEL BURTON Dated
Defendant

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I have read this agreement and carefully reviewed every part of it with my
attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with
my attorney and fully understand my rights with respect to sentencing which may
apply to my case. No other promises or inducements have been made to me, other
than those contained in this pleading. In addition, no one has threatened or forced
me in any way to enter into this agreement. Finally, I am satisfied with the

representation of my attorney in this matter.

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KALOB NATHANIEL BURTON Dated
Defendant

I am counsel for the defendant in this case. I have fully explained to the defendant
the defendant’s rights with respect to the pending Second Superseding Indictment.

Further, I have reviewed the provisions of the Sentencing Guidelines and Policy

Statements and I have fully explained to the defendant the provisions of those
Guidelines which may apply in this case. I have carefully reviewed every part of this

plea agreement with the defendant. To my knowledge, the defendant’s decision to

A \ DD an informed and voluntary one.

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ROBERT DeGIPFORD Dated
Counsel for the Defendant

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